Case 10-93904-BHL-11         Doc 408     Filed 03/23/11     EOD 03/23/11 16:42:21        Pg 1 of 4




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION

IN RE:                                            )       Chapter 11
                                                  )
EASTERN LIVESTOCK CO., LLC,                       )       Case No. 10-93904-BHL-11
                                                  )
                      Debtor.                     )       Hon. Basil H. Lorch III


                            NOTICE OF CHANGE OF ADDRESS

To the Court: The correct address for the following creditor is as follows:

 Crooked Oak Services
 Clinton Crowley
 19515 Crooked Oaks Road
 St. Onge, SD 57779


To the Listed Creditor: You are listed as a creditor in this case, but the original address was
incorrect or missing. Accompanying this notice is the following document:

                            ■     notice of meeting of creditors




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Case 10-93904-BHL-11       Doc 408   Filed 03/23/11   EOD 03/23/11 16:42:21     Pg 2 of 4




                                        Respectfully submitted,

                                        BAKER & DANIELS LLP


                                         By:   /s/Dustin R. DeNeal

James M. Carr (#3128-49)                 Counsel for James A. Knauer, Chapter 11 Trustee
Robert K. Stanley (#1745-49)
Terry E. Hall (#22041-49)
Dustin R. DeNeal (#27535-49)
300 N. Meridian Street, Suite 2700
Indianapolis, IN 46204-1782
Telephone: (317) 237-0300
Facsimile: (317) 237-1000
jim.carr@bakerd.com
robert.stanley@bakerd.com
terry.hall@bakerd.com
dustin.deneal@bakerd.com

Wendy W. Ponader (#14633-49)
Baker & Daniels LLP
600 East 96th Street, Suite 600
Indianapolis, IN 46240
Telephone: (317) 569-9600
Facsimile: (317) 569-4800
wendy.ponader@bakerd.com




6594291_1.DOCX                             2
Case 10-93904-BHL-11            Doc 408    Filed 03/23/11          EOD 03/23/11 16:42:21             Pg 3 of 4




                                  CERTIFICATE OF SERVICE

        I hereby certify that on March 23, 2011, a copy of the foregoing pleading was filed
electronically. Notice of this filing will be sent to the following party/parties through the Court’s
Electronic Case Filing System. Party/parties may access this filing through the Court’s system.
 David L. Abt                       C. R. Bowles, Jr                      John Hunt Lovell
 davidabt@mwt.net                   crb@gdm.com                           john@lovell-law.net

 Mark A. Robinson                   Jesse Cook-Dubin                      Edward M King
 mrobinson@vhrlaw.com               jcookdubin@vorys.com                  tking@fbtlaw.com

 Randall D. LaTour                  John R. Carr, III                     Bret S. Clement
 rdlatour@vorys.com                 jrciii@acs-law.com                    bclement@acs-law.com

 Daniel J. Donnellon                Stephen A. Weigand                    John Frederick Massouh
 ddonnellon@ficlaw.com              sweigand@ficlaw.com                   john.massouh@sprouselaw.com

 John W. Ames                       Robert Hughes Foree                   Kim Martin Lewis
 jwa@gdm.com                        robertforee@bellsouth.net             kim.lewis@dinslaw.com

 Jeremy S Rogers                    Ivana B. Shallcross                   Deborah Caruso
 Jeremy.Rogers@dinslaw.com          ibs@gdm.com                           dcaruso@daleeke.com

 Meredith R. Thomas                 William Robert Meyer, II              Allen Morris
 mthomas@daleeke.com                rmeyer@stites.com                     amorris@stites.com

 Charles R. Wharton                 James Bryan Johnston                  James T. Young
 Charles.R.Wharton@usdoj.gov        bjtexas59@hotmail.com                 james@rubin-levin.net

 David L. LeBas                     Judy Hamilton Morse                   John M. Thompson
 dlebas@namanhowell.com             judy.morse@crowedunlevy.com           john.thompson@crowedunlevy.com

 Jessica E. Yates                   John Huffaker                         Matthew J. Ochs
 jyates@swlaw.com                   john.huffaker@sprouselaw.com          matt.ochs@moyewhite.com

 Laura Day Delcotto                 Kelly Greene McConnell                T. Kent Barber
 ldelcotto@dlgfirm.com              lisahughes@givenspursley.com          kbarber@dlgfirm.com

 Ross A. Plourde                    Jeffrey E. Ramsey                     Walter Scott Newbern
 ross.plourde@mcafeetaft.com        jramsey@hopperblackwell.com           wsnewbern@msn.com

 Kirk Crutcher                      Todd J. Johnston                      Timothy T. Pridmore
 kcrutcher@mcs-law.com              tjohnston@mcjllp.com                  tpridmore@mcjllp.com

 Theodore A Konstantinopoulos       Karen L. Lobring                      Sandra D. Freeburger
 ndohbky@jbandr.com                 lobring@msn.com                       sfreeburger@dsf-atty.com

 Lisa Koch Bryant                   Elliott D. Levin                      John M. Rogers
 courtmail@fbhlaw.net               robin@rubin-levin.net                 johnr@rubin-levin.net
                                    edl@trustesolutions.com
 Cathy S. Pike                      John David Hoover                     Sean T. White
 cpike@weberandrose.com             jdhoover@hooverhull.com               swhite@hooverhull.com

 Robert H. Foree                    Sarah Stites Fanzini                  Michael W. McClain
 robertforee@bellsouth.net          sfanzini@hopperblackwell.com          mike@kentuckytrial.com

 William E Smith
 wsmith@k-glaw.com




6594291_1.DOCX                                         3
Case 10-93904-BHL-11        Doc 408      Filed 03/23/11    EOD 03/23/11 16:42:21         Pg 4 of 4




        I further certify that on March 23, 2011, a copy of the foregoing pleading was served via
electronic mail transmission on the following:
 David A. Domina
 ddomina@dominalaw.com



         I further certify that on March 23, 2011, a copy of the foregoing pleading was mailed by
first-class U.S. Mail, postage prepaid and properly addressed, to the following:
 Crooked Oak Services
 Clinton Crowley
 19515 Crooked Oaks Road
 St. Onge, SD 57779




                                                            /s/ Dustin R. DeNeal




6594291_1.DOCX                                  4
